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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE: ADAM ANDREW WARMKA,                            CASE NO. 23-52410-SMS

        DEBTOR.                                        CHAPTER 7


       NOTICE OF PLEADING, DEADLINE TO OBJECT, AND FOR HEARING

        PLEASE TAKE NOTICE that Brandon K. Honsalek, counsel for the above-named
Debtor, has filed a Motion to Reopen Bankruptcy Case on August 1, 2023. Pursuant to General
Order No. 24-2018, the Court may consider this matter without further notice or a hearing if no
party in interest files an objection within twenty-one (21) days from the date of service of this
notice. If you object to the relief requested in this pleading, you must timely file your
objection with the Bankruptcy Clerk at United States Bankruptcy Court, Room 1340,
Richard Russell Federal Building, 75 Ted Turner Drive, SW, Atlanta, GA 30303, and serve a
copy on the movant’s attorney listed below, and any other appropriate persons, by the objection
deadline. The response or objection must be actually received by the Bankruptcy Clerk within the
required time.

        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
at 10:15 A.M. on 9/13/2023 in Courtroom 1201, United States Courthouse, 75 Ted Turner Drive,
SW, Atlanta, Georgia 30303, which may be attended in person or via the Court’s Virtual Hearing
Room. You may join the Virtual Hearing Room through the “Dial-in and Virtual Bankruptcy
Hearing Information” link at the top of the homepage of the Court’s website,
www.ganb.uscourts.gov, or the link on the judge’s webpage, which can also be found on the
Court’s website. Please also review the “Hearing Information” tab on the judge’s webpage for
further information about the hearing. You should be prepared to appear at the hearing via video,
but you may leave your camera in the off position until the Court instructs otherwise.
Unrepresented persons who do not have video capability may use the telephone dial-in information
on the judge’s webpage.

        If an objection or response is timely filed and served, the hearing will proceed as scheduled.
If you do not file a response or objection within the time permitted, the Court may grant the
relief requested without further notice or hearing provided that an order approving the relief
requested is entered at least one business day prior to the scheduled hearing. If no objection is
timely filed, but no order is entered granting the relief requested at least one business day prior to
the hearing, the hearing will be held as scheduled.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. If you do not have an
attorney, you may wish to consult one.



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      This 1st day of August, 2023.


 Debt Freedom GA LLC                             /s/ Brandon K. Honsalek
 414 Pine Grove Ave., FL2                        Brandon K. Honsalek
 Grayson, GA 30017                               Georgia Bar No. 742962
 Phone: 404-913-6992                             Attorney for Debtor(s)
 Email: brandon@honsalek.com




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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
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 IN RE: ADAM ANDREW WARMKA,                          CASE NO. 23-52410-SMS

        DEBTOR.                                      CHAPTER 7


                        MOTION TO REOPEN BANKRUPTCY CASE

       COMES NOW the above-named Debtor, by and through the undersigned counsel, and

hereby moves this honorable Court for an order reopening the above-referenced bankruptcy case

pursuant to U.S.C. § 350(b) and Bankruptcy Rule 5010, and in support thereof states the following:

   1. The Debtor filed a voluntary bankruptcy petition under Chapter 7 on March 13, 2023.

   2. The Debtor received a discharge on June 23, 2023 and the bankruptcy case was closed on

       June 23, 2023.

   3. At the time of filing this case, Debtor owed a pre-petition debt to American Medical

Response, Inc. (the “Debt”).

   4. The Debt was discharged in this bankruptcy case.

   5. Debtor and Debtor’s counsel have notified American Medical Response, Inc. of this

bankruptcy case multiple times via phone and mail.

   6. Despite the discharge of the Debt and adequate notice thereof, American Medical

Response, Inc. has continued attempting to collect the Debt post-discharge.

   7. Debtor therefore seeks to have this case reopened to file an adversary proceeding against

American Medical Response, Inc. for sanctions for violation of the bankruptcy discharge.

       WHEREFORE, movant respectfully requests that the Court enter an order reopening this

bankruptcy case.

       Respectfully submitted on August 1 2023.

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 Debt Freedom GA LLC                            /s/ Brandon K. Honsalek
 414 Pine Grove Ave., FL2                       Brandon K. Honsalek
 Grayson, GA 30017                              Georgia Bar No. 742962
 Phone: 404-913-6992                            Attorney for Debtor(s)
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 IN RE: ADAM ANDREW WARMKA,                         CASE NO. 23-52410-SMS

           DEBTOR.                                  CHAPTER 7


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have this day served all parties to this matter with a copy of
the foregoing MOTION TO REOPEN BANKRUPTCY CASE, together with the NOTICE OF
PLEADING, DEADLINE TO OBJECT, AND FOR HEARING by depositing the same in the
U.S. Mail with adequate postage thereon to ensure delivery, addressed to the parties of record as
follows:
American Medical Response, Inc.
Corporation Service Company, Registered Agent
2 Sun Court, Suite 400
Peachtree Corners, GA 30092

American Medical Response, Inc.
PO Box 8723
Coral Springs, FL 33075

       Dated: August 1, 2023.

 Debt Freedom GA LLC                                 /s/ Brandon K. Honsalek
 414 Pine Grove Ave., FL2                            Brandon K. Honsalek
 Grayson, GA 30017                                   Georgia Bar No. 742962
 Phone: 404-913-6992                                 Attorney for Debtor(s)
 Email: brandon@honsalek.com




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